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 1   LAW OFFICE OF JAMES S. TERRELL
 2
     JAMES S. TERRELL, ESQ. (SBN 170409)
     Law Office of James S. Terrell
 3   15411 Anacapa Road
 4
     Victorville, CA 92392
     Tel.760-951-5850 Fax.760-952-1085
 5   E-mail: jim@talktoterrell.com
 6

 7   LAW OFFICE OF SHARON J. BRUNNER
 8
     SHARON J. BRUNNER, ESQ. (SBN: 229931)
     Law Office of Sharon J. Brunner
 9   14393 Park Avenue, Suite 100
10   Victorville, CA 92392
     Tel. (760) 243-9997. Fax.(760) 843-8155
11   E-mail: sharonjbrunner@yahoo.com
12

13   Attorneys for PLAINTIFF:
     RICHARD DONASTORG
14

15                               UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
16

17     RICHARD DONASTORG.                                      Case No. 5:18-cv-992
18                                   PLAINTIFF,                COMPLAINT FOR DAMAGES
19     vs.                                                         1. Fourth Amendment – Detention
20                                                                    and Arrest (42 U.S.C. §1983)
       CITY OF ONTARIO, POLICE CHIEF                               2. Fourth Amendment – Excessive
       BRAD KAYLOR, GARY CROSBY,                                      Force (42 U.S.C. § 1983)
21     CORPORAL JOE ESTRADA,                                       3. Municipal Liability –
       BRENNAN FALCONIERI,                                            Unconstitutional Custom,
22     SERGEANT FLESHER, EDWARD                                       Practice, or Policy (42 U.S.C. §
23
       FLORES, GABRIEL GUTIERREZ,                                     1983)
       SERGEANT JOSEPH GIALLO,                                     4. Municipal Liability –
24
       COREY HETTINGA, JOSHUA                                         Ratification (42 U.S.C. § 1983)
       HOVEY, WILLIAM MLODZINSKI,                                  5. Municipal Liability – Failure to
25
       CHRISTIAN NELSEN, MATTHEW                                      Train (42 U.S.C. § 1983)
       ROSS, W. RUSSELL, BRYCE                                     6. Fourth Amendment – Denial of
26     WILSON, AND DOES 1-10,                                         Medical Care (42 U.S.C. § 1983)
       INCLUSIVE.                                                  7. Americans with Disabilities Act
27



                                                          1
     ____________________________________________________________________________________________________________
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 1                                                                 8. Intentional Infliction of
                                     Defendants.                      Emotional Distress
 2                                                                 9. Violation of Cal. Civil Code §
                                                                      52.1
 3                                                                 10. False Arrest/False
                                                                      Imprisonment
 4
                                                               DEMAND FOR JURY TRIAL
 5
                                    JURISDICTION AND VENUE
 6
         1.      This Court has original jurisdiction over this action for damages under the
 7
     laws under 42 U.S.C. § 1983, the United States Constitution and common law
 8
     principles, to redress a deprivation under color of state law of rights, privileges, and
 9
     immunities secured to PLAINTIFF, by said status, and by the First, Fourth, and
10

11
     Fourteenth Amendments of the United States Constitution.

12
         2.      Pursuant to USC § 1331, this Court has original jurisdiction under the Civil

13
     Rights Act 42 § 1983, the American with Disabilities Act (ADA) claim and related

14
     common law claims pursuant to 28 USC §§ 1331, 1343.

15
         3.      Venue is proper in this Court because the Defendants reside in, and in all

16   incidents, events, and occurrences giving rise to this action occurred in the City of

17   Ontario, California.

18       4.      PLAINTIFF filed a timely Government Code § 911.2 et al. and brings

19   pendant actions under state law.

20

21                           PARTIES AND JURISDICTION
         5.      PLAINTIFF RICHARD DONASTORG (“DONASTORG”) was, at all
22

23   times herein mentioned a citizen of the United States of America and a resident of San
24   Bernardino County over the age of 18.
25
         6.      Defendant CITY OF ONTARIO (“CITY”) is a political subdivision of the
26

27   State in California with the capacity to sue and be sued. The departments of the City


                                                          2
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                                           COMPLAINT FOR DAMAGES
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 1   of Ontario include the Ontario Police Department and its departments and agencies.
 2
     Employees of the CITY OF ONTARIO have engaged in the acts complained of herein
 3

 4
     pursuant to the policies, practices and customs of the CITY OF ONTARIO.

 5       7.      At all times mentioned herein, Defendant CHIEF OF POLICE BRAD
 6
     KAYLOR(“KAYLOR”) was employed by the CITY OF ONTARIO as CHIEF OF
 7

 8
     POLICE. He is being sued in his individual capacity and in his official capacity as

 9   Chief of Police for the CITY OF ONTARIO. KAYLOR was at all times mentioned
10
     herein, a policy maker for the City of Ontario.
11

12       8.      Defendant OFFICER GARY CROSBY #14083 (“CROSBY" ) is and was

13   at all times mentioned herein an Officer employed by the CITY OF ONTARIO. He is
14
     being sued in his individual capacity and in his official capacity as an Officer for the
15

16   CITY OF ONTARIO.

17       9.      Defendant CORPORAL JOE ESTRADA #80239 (“ESTRADA" ) is and
18
     was at all times mentioned herein an Officer employed by the CITY OF ONTARIO.
19

20   He is being sued in his individual capacity and in his official capacity as an Officer for

21   the CITY OF ONTARIO.
22
         10.     Defendant OFFICER BRENNAN FALCONIERI
23

24   #80461(“FALCONIERI" ) is and was at all times mentioned herein an Officer
25   employed by the CITY OF ONTARIO. He is being sued in his individual capacity and
26
     in his official capacity as an Officer for the CITY OF ONTARIO.
27



                                                          3
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 1       11.     Defendant SERGEANT FLESHER(“FLESHER" ) is and was at all times
 2
     mentioned herein an Officer employed by the CITY. He is being sued in his individual
 3

 4
     capacity and in his official capacity as an Officer for the CITY.

 5       12.     Defendant OFFICER EDWARD FLORES #80463(“FLORES" ) is and
 6
     was at all times mentioned herein an Officer employed by the CITY. He is being sued
 7

 8
     in his individual capacity and in his official capacity as an Officer for the CITY OF

 9   ONTARIO.
10
         13.     Defendant OFFICER GABRIEL GUTIERREZ #80184 (“GUTIERREZ"
11

12   ) is and was at all times mentioned herein an Officer employed by the CITY OF

13   ONTARIO. He is being sued in his individual capacity and in his official capacity as
14
     an Officer for the CITY OF ONTARIO.
15

16       14.     Defendant SERGEANT JOSEPH GIALLO #14592(“GIALLO" ) is and

17   was at all times mentioned herein an Officer employed by the CITY OF ONTARIO.
18
     He is being sued in his individual capacity and in his official capacity as an Officer for
19

20   the CITY OF ONTARIO.

21       15.     Defendant OFFICER CORREY HETTINGA #80464(“HETTINGA" ) is
22
     and was at all times mentioned herein an Officer employed by the CITY OF
23

24   ONTARIO. He is being sued in his individual capacity and in his official capacity as
25   an Officer for the CITY OF ONTARIO.
26
         16.     Defendant OFFICER JOSHUA HOVEY(“HOVEY" ) is and was at all
27



                                                          4
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 1   times mentioned herein an Officer employed by the CITY OF ONTARIO. He is being
 2
     sued in his individual capacity and in his official capacity as an Officer for the CITY
 3

 4
     OF ONTARIO.

 5       17.     Defendant OFFICER WILLIAM MLODZINSKI
 6
     #80522(“MLODZINSKI" ) is and was at all times mentioned herein an Officer
 7

 8
     employed by the CITY OF ONTARIO. He is being sued in his individual capacity and

 9   in his official capacity as an Officer for the CITY OF ONTARIO.
10
         18.     Defendant OFFICER CHRISTIAN NELSEN #80481 (“NELSEN" ) is
11

12   and was at all times mentioned herein an Officer employed by the CITY OF

13   ONTARIO. He is being sued in his individual capacity and in his official capacity as
14
     an Officer for the CITY OF ONTARIO.
15

16       19.     Defendant OFFICER MATTHEW ROSS #80492 (“ROSS" ) is and was

17   at all times mentioned herein an Officer employed by the CITY OF ONTARIO. He is
18
     being sued in his individual capacity and in his official capacity as an Officer for the
19

20   CITY OF ONTARIO.

21       20.     Defendant OFFICER W. RUSSEL(“RUSSEL" ) is and was at all times
22
     mentioned herein an Officer employed by the CITY OF ONTARIO. He is being sued
23

24   in his individual capacity and in his official capacity as an Officer for the CITY OF
25   ONTARIO.
26
         21.     Defendant OFFICER BRYCE WILSON #80508 (“WILSON" ) is and was
27



                                                          5
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                                           COMPLAINT FOR DAMAGES
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 1   at all times mentioned herein an Officer employed by the CITY OF ONTARIO. He is
 2
     being sued in his individual capacity and in his official capacity as an Officer for the
 3

 4
     CITY OF ONTARIO.

 5       22.      Defendant DOES 1-10 are police officers, supervisory employees, and/or
 6
     managerial, supervisorial, and policymaking employees who were acting under color of
 7

 8
     law within the course and scope of their duties of the City of Ontario and the City of

 9   Ontario Police Department.
10
         23.     The true names and capacities of DOES 1-10 are unknown to PLAINTIFF,
11

12   who otherwise sues these Defendants by such fictitious names. PLAINTIFF will seek

13   to amend this complaint to show the true names and capacities of these Defendants
14
     when they are ascertained. Each of the fictitiously named Defendants is responsible in
15

16   some manner for the conduct or liabilities alleged herein.

17       24.     This is an action for damages and such other and further relief as may be
18
     consistent with law pursuant to 42 USC § 1983, to redress violations of the
19

20   PLAINTIFF’s rights protected by the United States Constitution, by persons acting

21   under color of state law.
22
         25.     All events transactions or occurrences took place in the City of Ontario,
23

24   California unless specifically alleged otherwise.
25       26.     This action is otherwise properly before this Honorable Court.
26
                                                            FACTS
27



                                                          6
     ____________________________________________________________________________________________________________
                                           COMPLAINT FOR DAMAGES
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 1          27.     On or about May 8, 2016, at approximately 5:00 am, PLAINTIFF
 2
     Richard DONASTORG pulled into a gas station as he was having a problem learning
 3

 4
     the nomenclature of his rental car that has resulted in his rental vehicle trunk opening.

 5          28.     Defendant Officer Bryce WILSON and Defendant Officer Harvey
 6
     allegedly made contact with PLAINTIFF for having his trunk open and his emergency
 7

 8
     lights flashing at the TA West (gas station). Defendant Officer WILSON ordered

 9   PLAINTIFF to exit his vehicle, he was not advised he was being stopped, detained, or
10
     asked for his driver’s license.
11

12          29.     Defendant Officer WILSON went into the vehicle and forced the

13   transmission gear into park (PLAINTIFF believed) he put the car in reverse causing
14
     his vehicle to bump a police car behind him. Defendant Officer WILSON and
15

16   Defendant Officer HOVEY both attacked PLAINTIFF and tasered PLAINTIFF

17   multiple times and Defendant Officer HOVEY attempted to open PLAINTIFF’s door
18
     and enter his vehicle for no known apparent reason. The movement of the gear shifted
19

20   being pushed by these officers caused the vehicle to travel in several directions, as

21   PLAINTIFF was being tased. PLAINTIFF had no control over his feet or muscles and
22
     was being repeatedly tased, and his vehicle’s direction of travel and movement was
23

24   controlled by Defendant Officers WILSON and HOVEY.
25          30.     Defendant Officer GUTIERREZ arrived with a K9 “Robbie” where
26
     Defendant Officer Bryce WILSON and other DOES 1-5, broken the PLAINTIFF’s
27



                                                          7
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 1   rear window and prepared to send in K-9 Robbie to attack, chew, and bite the
 2
     PLAINTIFF.
 3

 4
            31.     At no time did PLAINTIFF have any weapons, and was completely

 5   blocked off, with nowhere to travel. The DEFENDANTS allege the officers were
 6
     “rammed” by PLAINTIFF’S vehicle. PLAINTIFF did not intentionally hit any
 7

 8
     vehicle. The two initial police officers moved the gear shift to reverse and drive and

 9   tased the PLAINTIFF causing him to bump the vehicle.
10
            32.     Defendant CORPORAL Joe ESTRADA, Officer GRACIA, and Officer
11

12   MLODZINSKI were summoned Code 3 by Officer HOVEY, who inaccurately

13   reported the situation strength of the PLAINTIFF.
14
            33.     Soon a Bearcat tractor was placed behind the PLAINTIFF preventing any
15

16   possible escape. DEFENDANT ESTRADA based upon his training and imagination

17   believed the PLAINTIFF would be armed. He was not. No weapon was ever
18
     observed by Defendants WILSON and HOVEY who were inside the vehicle.
19

20          34.     Defendant FLESHER gave commands to break the back window and

21   have the K-9 attack PLAINTIFF. After the K-9 was placed in the vehicle, the police
22
     all believed the dog was being strangled to death. Actually, the PLAINTIFF was
23

24   simply pushing the K-9 away from him to prevent further pain and injury.
25          35.     The PLAINTIFF was tased by Defendants CORPORAL ESTRADA,
26
     OFFICERS Gutierrez, HOVEY, MLODZINSKI, GIALLO, AND WILSON.
27



                                                          8
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                                           COMPLAINT FOR DAMAGES
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 1          36.     PLAINTIFF suffered baton strikes to his left arm by Defendant Officer
 2
     GUTIERREZ.
 3

 4
            37.     The PLAINTIFF suffered multiple strikes to the head by Defendant

 5   Officer HOVEY.
 6
            38.     The PLAINTIFF suffered strikes to his face when Defendant Officers
 7

 8
     MLODZINSKI used his taser as a weapon to violently injure the PLAINTIFF.

 9          39.     The PLAINTIFF was pulled out of the vehicle, where several officers
10
     intentionally struck his head.
11

12          40.     The K-9 should have never been put into the vehicle as the small space

13   both the suspect and dog are in awkward positions.
14
            41.     Defendant Officer Matthew ROSS struck the PLAINTIFF with his baton
15

16   in the head. ROSS tried to hit PLAINTIFF on his shoulders and arms but kept striking

17   the PLAINTIFF’s head.
18
            42.     Defendant Officer Christian NELSEN shot a 40mm and hit the
19

20   PLAINTIFF from 5 feet away, striking the PLAINTIFF in his arm.

21          43.     Defendant Sgt. FLESHER gave commands to break the back window of
22
     PLAINTIFF’s rental vehicle, to shoot the PLAINTIFF with 40mm and have the K-9
23

24   attack the PLAINTIFF.
25          44.     Defendant Officer NELSEN deployed 40mm striking PLAINTIFF’S
26
     right arm per orders of Defendant Sgt. FLESHER.
27



                                                          9
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                                           COMPLAINT FOR DAMAGES
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 1          45.     Defendant Officer MLODZINSKI tased and struck the head of
 2
     PLAINTIFF with the taser, then struck PLAINTIFF’s face with his fist four times.
 3

 4
     Defendant William MLODZINSKI also shot pepper balls with orders from Sergeant

 5   GIALLO.
 6
            46.     The PLAINTIFF also suffered facial blows when Defendant Officer
 7

 8
     MLODZINSKI used his closed fists to hit the PLAINTIFF in his face.

 9          47.     Defendant Officer FLORES deployed at least 18 pepper balls into the
10
     vehicle PLAINTIFF was sitting in.
11

12          48.     Defendant Gabriel GUTIERREZ struck PLAINTIFF with four strikes

13   with a baton on the head of the PLAINTIFF.
14
            49.     Defendant Officer FALCONIERI broke the window, shooting pepper
15

16   balls at PLAINTIFF under orders from Defendant Sgt. GIALLO.

17          50.     PLAINTIFF was struck forcefully on his right arm by a 40 mm deployed
18
     by Defendant Officer NELSEN.
19

20          51.     PLAINTIFF was held at gunpoint and hit by Defendant Officer

21   HETTINGA’s flashlight multiple times.
22
            52.     Defendant Officer FALCONIERI and Defendant Officer ROSS assisted
23

24   in the excessive force used on the PLAINTIFF to include the breaking of
25   PLAINTIFF’s windows, pepper spraying, tasing, and brutal strikes with and without
26
     weapons.
27



                                                          10
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                                           COMPLAINT FOR DAMAGES
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 1          53.      All of the aforementioned acts were committed in the presence of
 2
     Defendants Sgt. FLESHER, GIALLO, and Defendant Corporal ESTRADA.
 3

 4
            54.      The CITY OF ONTARIO’s policies and procedures essentially tortured

 5   and abused PLAINTIFF for over an hour.
 6
            55.      PLAINTIFF will suffer lifetime of disability due to poor planning, poor
 7

 8
     execution, and poor tactics by Chief Brad KAYLOR which were all unnecessary as

 9   the PLAINTIFF was unarmed and completely blocked in.
10
                                    FIRST CLAIM FOR RELIEF
11
     FOURTH AMENDMENT – UNREASONABLE SEARCH AND SEIZURE
12
                                    DETENTION AND ARREST
13
                                            (42 U.S.C. § 1983)
14
                            (AGAINST ALL DEFENDANTS)
15

16
            56.      PLAINTIFF repeats and re-alleges each and every allegation contained in
17

18   paragraphs 1 through 55 of this Complaint with the same force and effect as if fully set
19
     forth herein.
20
            57.      The Fourth Amendment of the United States Constitution guarantees all
21

22   persons the right to be free from unreasonable detention in violation of their right to
23
     privacy. 42 U.S.C. § 1983 provides a private right of action for conduct which violates
24

25
     this right.

26          58.      ALL DEFENDANT OFFICERS acted under the color of law.
27



                                                          11
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 1          59.     On May 8, 2016, Defendant Officers WILSON and HOVEY made contact
 2
     with PLAINTIFF, who suffered from mental illness and was not committing any crime.
 3

 4
     Defendants WILSON and HOVEY had no objectively reasonable or specifically

 5   articulable factual basis to suspect the PLAINTIFF was involved in the commission of
 6
     any crime. Nor did the Defendant GUTIERREZ have any confirmation that the
 7

 8
     PLAINTIFF committed any crime, nor posed a threat to any police officer or persons,

 9   and did not see the PLAINTIFF in possession of any illegal objects, contraband or
10
     weapons.
11

12          60.     Defendants WILSON and HOVEY had no reasonable suspicion to detain

13   the PLAINTIFF and no probable cause to arrest the PLAINTIFF. The scope and
14
     manner of Defendant WILSON and HOVEY’S detention of the PLAINTIFF was
15

16   unreasonable.

17          61.     The conduct of defendants WILSON and HOVEY violated the
18
     PLAINTIFF’s right to be free from unreasonable search and seizure, which is
19

20   guaranteed to him by the Fourth Amendment to the United States Constitution and

21   applied to state actors by the Fourteenth Amendment.
22
            62.     Defendants WILSON and HOVEY are liable to the PLAINTIFF, for the
23

24   PLAINTIFF’S injuries, either because they were integral participants in the wrongful
25   detention and arrest, or because they failed to intervene to prevent these violations.
26

27



                                                          12
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 1          63.     The conduct of ALL DEFENDANT OFFICERS and their supervisors was
 2
     willful, wanton, malicious, and done with an evil motive and intent and a reckless
 3

 4
     disregard for the rights and safety of the PLAINTIFF and therefore warrants the

 5   imposition of exemplary and punitive damages as to ALL DEFENDANT OFFICERS.
 6
            64.     As a direct result of the unreasonable detention of the PLAINTIFF,
 7

 8
     PLAINTIFF has suffered severe pain, severe suffering and severe injuries some of

 9   which may be permanent. PLAINTIFF seeks damages for the unreasonable detention
10
     and unlawful arrest, for his injuries, and emotional distress. The PLAINTIFF also seeks
11

12   attorney’s fees.

13
                                       SECOND CLAIM FOR RELIEF
14
                         FOURTH AMENDMENT – EXCESSIVE FORCE
15
                                    (AGAINST ALL DEFENDANTS)
16

17          65.     PLAINTIFF repeats and re-alleges each and every allegation in
18
     paragraphs 1 through 64 of this Complaint with the same force and effect as if fully
19

20
     set forth herein.

21          66.     The unjustified detention of PLAINTIFF by Defendants and subsequent
22
     unjustified use of excessive force deprived the PLAINTIFF of his right to be secure in
23

24
     his person against unreasonable searches and seizures as guaranteed to him under the

25   Fourth Amendment to the United States Constitution and applied to state actors by the
26
     Fourteenth Amendment.
27



                                                          13
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                                           COMPLAINT FOR DAMAGES
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 1          67.     All DEFENDANT OFFICERS and their Supervisors acted under the
 2
     color of state law.
 3

 4
            68.     All DEFENDANT OFFICERS and their Supervisors used excessive

 5   force against the PLAINTIFF included but not limited to biting (police dog), beating,
 6
     striking, punching, tasing, and pepper spraying of the PLAINTIFF.
 7

 8
            69.     As a result of the conduct of Defendants they are liable to PLAINTIFF

 9   for the PLAINTIFF’S injuries, either because they were integral participants in the
10
     excessive force or because they failed to intervene to prevent these violations.
11

12          70.     The conduct of Defendants SERGEANT FLESHER, Defendant

13   OFFICERS MLODZINSKI, NELSON GABRIEL GUTIERREZ was willful, wanton,
14
     malicious, and done with an evil motive and intent and a reckless disregard for the
15

16   rights and safety of the PLAINTIFF and therefore warrants the imposition of

17   exemplary and punitive damages as to ALL DEFENDANT OFFICERS and their
18
     Supervisors. The PLAINTIFF suffered a violent attack by a police dog, a violent
19

20   beating by several police officers with several direct blows to the head.

21          71.     Accordingly, each and ALL DEFENDANT OFFICERS are each liable to
22
     PLAINTIFF for compensatory and punitive damages under 42 U.S.C. §1983.
23

24   PLAINTIFF seeks damages for his pain and suffering, his injuries which may be
25   permanent, permanent scarring, and emotional distress under this claim. PLAINTIFF
26
     also seeks attorney’s fees.
27



                                                          14
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 1
                                        THIRD CLAIM FOR RELIEF
 2
               MUNICIPAL LIABILITY – UNCONSTITUTIONAL CUSTOM OR
 3                                                     POLICY
 4                                               (42 U.S.C. § 1983)
 5              (AGAINST DEFENDANT CITY OF ONTARIO AND DOES 1-10)
 6

 7          72.      PLAINTIFF repeats and re-alleges each and every allegation in
 8
     paragraphs 1 through 71 of this Complaint with the same force and effect as if fully
 9
     set forth herein.
10

11          73.      On and for some time prior to May 8, 2016 ( and continuing to the
12
     present date) Defendants CITY OF ONTARIO and DOES 1-10, deprived the
13
     PLAINTIFF of the rights and liberties secured to him by the Fourth and Fourteenth
14

15   Amendments to the United States Constitution, in that said defendants and their
16
     supervising, and managerial employees, agents, and representatives, acting with gross
17
     negligence and with reckless and deliberate indifference to the rights and liberties of
18

19   the public in general, of PLAINTIFF, and of persons in his class, situation and
20
     comparable position in particular, knowingly maintained, enforced and applied an
21
     official policy recognized by the CITY OF ONTARIO and it’s police department.
22

23          74.      ALL DEFENDANT OFFICERS and their supervisors acted under the
24
     color of law.
25
26

27



                                                          15
     ____________________________________________________________________________________________________________
                                           COMPLAINT FOR DAMAGES
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 1          75.      ALL DEFENDANT OFFICERS and all named Supervisors acted
 2
     pursuant to an expressly adopted official policy or a longstanding practice or custom
 3

 4
     of the Defendant CITY OF ONTARIO.

 5          76.      On information and belief, ALL DEFENDANT OFFICERS and named
 6
     Supervisors and their supervisors were not disciplined, reprimanded, retrained,
 7

 8
     suspended, or otherwise penalized in connection with the excessive force incident of

 9   the PLAINTIFF on or about May 8, 2016.
10
            77.      Defendants CITY OF ONTARIO together with other CITY OF
11

12   ONTARIO policymakers and supervisors maintained inter alia, the following

13   unconstitutional customs, practices, and polices:
14
            a. Using excessive force; including excessive deadly force;
15

16          b. Providing inadequate training regarding the use of deadly force;

17          c. Employing and retaining as Officers and other personnel, including ALL
18
                  OFFICERS and Defendant Supervisors who Defendant CITY OF
19

20                ONTARIO DOE SUPERVISORS 1-10, at all times material herein, knew or

21                reasonably should have known had dangerous propensities for abusing their
22
                  authority and for mistreating citizens by failing to follow written City of
23

24                Ontario Police Department policies and for using excessive force.
25          d. Inadequately supervising, training, controlling, assigning and disciplining
26
                  CITY OF ONTARIO OFFICERS and other CITY OF ONTARIO
27



                                                          16
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 1              Department personnel, including ALL OFFICERS, including OFFICERS
 2
                and SUPERVISORS, who Defendants CITY OF ONTARIO and DOE
 3

 4
                Supervisors 1-10 each knew, or in the exercise of reasonable care, should

 5              have known had the aforementioned propensities and character traits.
 6
            e. Maintaining gross inadequate procedures for reporting, supervising,
 7

 8
                investigating, reviewing, disciplining and controlling the intentional

 9              misconduct by ALL OFFICERS, who are CITY OF ONTARIO Officers.
10
            f. Failing to adequately discipline CITY OF ONTARIO OFFICERS, for the
11

12              above-referenced categories of misconduct, including “slaps on the wrist”,

13              discipline that is so slight as to be out of proportion to the magnitude of the
14
                misconduct, and other inadequate discipline that is tantamount to
15

16              encouraging misconduct;

17          g. Refusing to discipline, terminate, or retrain the officers involved, even where
18
                the force was deemed to be excessive and unconstitutional in court;
19

20          h. Encouraging, accommodating, or facilitating a “blue code of silence”, “blue

21              shield,” “blue wall,” “blue curtain,” “blue veil,”, or simple “code of silence,”
22
                pursuant to which deputies do not report other officers’ errors, misconduct
23

24              or crimes. Pursuant to this code of silence, if questioned about an incident of
25              misconduct involving another officer, while following the code, the officer
26
                being questioned will claim ignorance of the other officers’ wrongdoing.
27



                                                          17
     ____________________________________________________________________________________________________________
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 1          i. Maintaining a policy of inaction and an attitude towards indifference
 2
                  towards soaring numbers of incidents of excessive force incidents, including
 3

 4
                  failing to discipline, retrain, investigate, terminate, and recommend officers

 5                for criminal prosecution who participate in excessive force against
 6
                  individual citizens.
 7

 8
            j. Having and maintaining an unconstitutional custom and practice of using

 9                excessive force and covering up police misconduct. These customs and
10
                  practices by CITY OF ONTARIO and DOES 1-10 were condoned by said
11

12                defendants in deliberate indifference to the safety and right of its civilians,

13                including PLAINTIFF.
14
            78.      By reasons of the aforementioned policies and procedures of Defendants
15

16   CITY OF ONTARIO and DOE SUPERVISORS 1-10, PLAINTIFF experienced

17   severe pain and suffering, severe permanent injury and emotional distress, for which
18
     he is entitled to recover damages.
19

20          79.      Defendant CITY OF ONTARIO AND DOES 1-10, together with various

21   other officials, whether named or unnamed, had either actual or constructive
22
     knowledge of the different policies, practices, and customs alleged in the paragraphs
23

24   above. Despite having knowledge as stated above, these defendants condoned,
25   tolerated and through actions and inactions ratified such policies. Said defendants
26
     also acted with deliberate indifference to both the foreseeable effects and
27



                                                          18
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 1   consequences of these policies and to the constitutional rights of the PLAINTIFF, and
 2
     others similarly situated.
 3

 4
            80.     By perpetuating, sanctioning, tolerating, and ratifying the outrageous

 5   conduct and other wrongful acts, Defendants CITY OF ONTARIO, and DOE
 6
     SUPERVISORS 1-10, acted with and intentional, reckless, callous disregard for the
 7

 8
     well-being of the PLAINTIFF and his constitutional as well as human rights.

 9   Defendants CITY OF ONTARIO and DOE SUPERVISORS 1-10, and each of their
10
     actions were willful, wanton, oppressive, malicious, fraudulent, and extremely
11

12   offensive and unconscionable to any person of normal sensibilities.

13          81.     Furthermore, the policies, practices and customs implemented,
14
     maintained and still tolerated by Defendants CITY OF ONTARIO , and DOE
15

16   SUPERVISORS 1-10, were affirmatively linked to, and were a significantly

17   influential force behind, the PLAINTIFF’S injuries.
18

19
                                    FOURTH CLAIM FOR RELIEF
                              MUNICIPAL LIABILITY – RATIFICATION
20
                                                    (42 .S.C. § 1983)
21
                    (AGAINST DEFENDANT CITY OF ONTARIO AND DOES 1-10)
22

23
            82.     PLAINTIFF repeats and re-alleges each and every allegation in
24

25
     paragraphs 1 through 81 of this Complaint with the same force and effect as if fully

26   set forth herein.
27



                                                          19
     ____________________________________________________________________________________________________________
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 1          83.     Defendants, each of them, acted under color of law.
 2
            84.     The acts of ALL DEFENDANT OFFICERS deprived the PLAINTIFF of
 3

 4
     his particular rights under the United States Constitution.

 5          85.     Upon information and belief, the final policymaker, acting under color of
 6
     law, has a history of ratifying unreasonable uses of force, including deadly force.
 7

 8
            86.     Upon information and belief. A final policymaker, acting under color of

 9   law, who had final policymaking authority concerning the acts of Defendants -----
10
     ratified the individual defendants’ acts and the bases for them. Upon information and
11

12   belief, the final policymaker knew of and specifically approved of the individual

13   defendants’ acts.
14
            87.     Upon information and belief, a final policymaker has determined (or will
15

16   determine) that the acts of ALL DEFENDANT OFFICERS were “within policy.”

17          88.     By reason of the aforementioned acts and omissions, PLAINTIFF has
18
     suffered severe pain, been seriously and permanently injured, scarred and suffered
19

20   emotional distress.

21          89.     Accordingly, Defendants CITY OF ONTARIO and DOES 1-10 each are
22
     liable to PLAINTIFF for compensatory damages under 42 U.S.C. § 1983 and the
23

24   PLAINTIFF also seeks attorney’s fees.
25
26
                                         FIFTH CLAIM FOR RELIEF
27



                                                          20
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 1
                           MUNICIPAL LIABILITY – FAILURE TO TRAIN
 2
                                                 (42 U.S.C. § 1983)
 3              (AGAINST DEFENDANT CITY OF ONTARIO AND DOES 1-10)
 4

 5          90.      PLAINTIFF repeats and re-alleges each and every allegation in
 6
     paragraphs 1 through 89 of the Complaint with the same force and effect as if fully set
 7
     forth herein.
 8

 9          91.      ALL DEFENDANT OFFICERS acted under color of law;
10
            92.      The acts of ALL DEFENDANT OFFICERS deprived the PLAINTIFF of
11
     his particular rights under the United States Constitution.
12

13          93.      On information and belief, CITY OF ONTARIO failed to properly and
14
     adequately train ALL DEFENDANT OFFICERS including but not limited to, with
15
     regard to the use of physical force, less than lethal force, and lethal force; and with
16

17   regard to the treatment of persons who are suspected of having some type of mental
18
     illness.
19

20
            94.      The training policies of Defendant CITY OF ONTARIO were not

21   adequate to train its officers to handle the usual and recurring situations which they
22
     must deal, including the use of less than lethal and lethal force, and the treatment of
23

24
     persons who are suspected of having some type of mental illness.

25          95.      Defendant CITY OF ONTARIO was deliberately indifferent to the
26
     obvious consequences of its failure to train its officers adequately.
27



                                                          21
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 1          96.     The failure of Defendant CITY OF ONTARIO to provide adequate
 2
     training caused the deprivation of PLAINTIFF’s rights by Defendants -----; that is,
 3

 4
     Defendants’ failure to train is so closely related to the deprivation of PLAINTIFF’s

 5   rights as to be the moving forces that caused the ultimate injuries.
 6
            97.     The aforementioned acts and omissions caused the PLAINTIFF’S pain
 7

 8
     and suffering, permanent injury, permanent scarring and emotional distress.

 9          98.     Accordingly, Defendants CITY OF ONTARIO and DOES 1-10 each are
10
     liable to PLAINTIFF for compensatory damages under 42 U.S.C. § 1983.
11

12          99.     PLAINTIFF brings this claim individually for his pain and suffering, his

13   injuries and his emotional distress. PLAINTIFF also seeks attorney’s fees.
14

15
                                        SIXTH CLAIM FOR RELIEF
16
                    FOURTH AMENDMENT – DENIAL OF MEDICAL CARE
17
                                                 (42 U.S.C. §1983)
18
                       (AGAINST ALL DEFENDANT OFFICERS)
19
            100. PLAINTIFF hereby re-alleges and incorporates by reference paragraphs
20
     1 through 99 of this Complaint with the same force and effect as if fully set forth
21

22   herein.
23
            101. ALL DEFENDANT OFFICERS acted under color of law.
24

25
            102. The denial of medical care by Defendants deprived the PLAINTIFF of

26   the right to be secure in his person against unreasonable searches and seizures as
27



                                                          22
     ____________________________________________________________________________________________________________
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 1   guaranteed to PLAINTIFF under the Fourth Amendment to the United States
 2
     Constitution and applied to state actors by the Fourteenth Amendment. Defendants ---
 3

 4
     -- did nothing to assist PLAINTIFF, denying him medical care for his sustained

 5   injuries.
 6
             103. As an approximate result of Defendants’ conduct, PLAINTIFF suffered
 7

 8
     injuries and damages as set forth herein, including great physical pain and emotional

 9   distress, which caused loss of enjoyment of life and loss of earning capacity.
10
             104. The conduct of Defendants’ was willful, wanton, malicious, and done
11

12   with reckless disregard for the rights and safety of PLAINTIFF; and, therefore,

13   warrants the imposition of exemplary and punitive damages as to ALL DEFENDANT
14
     OFFICERS.
15

16           105. As a result of their misconduct, Defendants are liable for PLAINTIFF’S

17   injuries, either because they were integral participants in the wrongful detention and
18
     arrest, or because they failed to intervene to prevent these violations.
19

20           106. PLAINTIFF brings this claim individually. PLAINTIFF seeks damages

21   for the injuries sustained as a result of Deputies’ unnecessary, excessive force; denial
22
     of medical care resulting in recovery and long term ailments; for pain and suffering,
23

24   emotional distress; and, loss of enjoyment of life. PLAINTIFF also seeks attorney’s
25   fees.
26

27                                    SEVENTH CLAIM FOR RELIEF


                                                          23
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 1
                    VIOLATION OF AMERICANS WITH DISABILITIES ACT
 2
                            (AGAINST ALL DEFENDANTS)
 3          107. PLAINTIFF hereby re-alleges and incorporates by reference paragraphs
 4
     1 through 106 of this Complaint with the same force and effect as if fully set forth
 5
     herein.
 6

 7          108. PLAINTIFF alleges as a claim for relief that the Defendants, in violation
 8
     of the ADA, failed to provide PLAINTIFF with any reasonable accommodation to his
 9

10
     known, disqualifying disability in their interactions with PLAINTIFF on the day of

11   the incident.
12
            109. As providers of governmental services, the City of Ontario had a duty to
13

14
     comply with the Title II of the ADA prohibiting discrimination against persons with

15   disabilities, a history of having disabilities or who are perceived to have a disability.
16
     As of the date of the injury, PLAINTIFF met all three prongs of eligibility for
17

18   application of the ADA.

19          110. As a direct and proximate result of the Defendants’ violation of the ADA
20
     as set forth above, PLAINTIFF incurred substantial emotional and physical harm.
21

22          111. PLAINTIFF suffered extreme injuries, incurring substantial pain as a

23   direct and proximate result of the Defendants’ acts in violation of the ADA as set forth
24
     above.
25
26                                      EIGHT CLAIM FOR RELIEF
27



                                                          24
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                                           COMPLAINT FOR DAMAGES
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 1
                               INFLICTION OF EMOTIONAL DISTRESS
 2
                       (AGAINST ALL DEFENDANT OFFICERS)
 3          112. PLAINTIFF hereby re-alleges and incorporates by reference paragraphs
 4
     1 through 111 of this Complaint with the same force and effect as if fully set forth
 5
     herein.
 6

 7          113. PLAINTIFF alleges as a claim for relief, Defendants inflicted emotional
 8
     distress on him. Specifically, PLAINTIFF was unaware Defendants had a dog in their
 9

10
     unit vehicle and was complying with all of the demands issued by Defendants.

11          114. Without notice from Defendants or provocation from PLAINTIFF, the
12
     police dog was commanded to attack PLAINTIFF. This caught PLAINTIFF by
13

14
     extreme surprise as no crime had been committed at the time Defendants ---- pulled

15   PLAINTIFF’S vehicle over and PLAINTIFF was in full compliance with the demands
16
     of Defendants
17

18          115. Moreover, Defendants proceeded to unleash their own attack on

19   PLAINTIFF, causing PLAINTIFF to suffer additional emotional distress.
20
                                        NINTH CLAIM FOR RELIEF
21
               VIOLATION OF PLAINTIFF’S RIGHT TO ENJOY CIVIL RIGHTS
22
                                               (Cal.Civ. Code §52.1)
23
                                      (AGAINST ALL DEFENDANTS)
24

25
26

27



                                                          25
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 1          116. PLAINTIFF hereby re-alleges and incorporates by reference paragraphs
 2
     1 through 115 of this Complaint with the same force and effect as if fully set forth
 3

 4
     herein.

 5          117. California Civil Code Section 52.1 (the Bane Act) prohibits any person
 6
     from using violent acts of threatening to commit violent acts in retaliation against
 7

 8
     another person for exercising that person’s constitutional rights.

 9          118. Conduct that violates the Fourth Amendment violates the California Bane
10
     Act.
11

12          119. On information and belief, Defendants while representing the City of

13   Ontario and acting within the course of scope of their duties, intentionally committed
14
     acts of violence against PLAINTIFF, including being tased, severely beaten and
15

16   pepper sprayed by Defendants without justification or excuse, integrally participating

17   and failing to intervene in the above violence, and by denying him necessary medical
18
     care. Defendants’ actions thus deprived PLAINTIFF of his right to be free from
19

20   unreasonable searches and seizures and excessive force under the Fourth Amendment.

21          120. On information and belief, Defendants also retaliated against
22
     PLAINTIFF by excessively beating beyond reasonable acts.
23

24          121. On information and belief, Defendants intentionally and spitefully
25   committed the above acts to discourage PLAINTIFF from exercising his civil rights,
26

27



                                                          26
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 1   to retaliate against him for invoking such rights, or to prevent him from exercising
 2
     such rights, which he was fully entitled to enjoy.
 3

 4
             122. On information and belief, PLAINTIFF reasonably believed and

 5   understood the violent acts committed by Defendants were intended to discourage him
 6
     from exercising his civil rights, to retaliate against him for invoking such rights, or to
 7

 8
     prevent him from exercising such rights.

 9           123. Defendants’ above-described conduct, while acting with the course and
10
     scope of their duties for the CITY OF ONTARIO, constituted interference, and
11

12   attempted interference, by threats, intimidation and coercion, with PLAINTIFF’S

13   peaceable exercise and enjoyment of rights secured by the Constitution and laws of
14
     the United States and the State of California, in violation of California Civil Code §
15

16   52.1.

17           124. The conduct of Defendants was a substantial factor in causing
18
     PLAINTIFF’S losses, harms, injuries, and damages.
19

20           125. CITY OF ONTARIO is vicariously liable for the wrongful acts

21   committed by Defendants pursuant to section 815.2(a) of the California Government
22
     Code, which provides a public entity is liable for the injuries caused by its employees
23

24   within the scope of employment if the employee’s act would subject him or her to
25   liability.
26

27



                                                          27
     ____________________________________________________________________________________________________________
                                           COMPLAINT FOR DAMAGES
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 1          126. Defendant DOES are vicariously liable under California law and the
 2
     doctrine of resondeat superior.
 3

 4
            127. PLAINTIFF brings this claim individually and seeks damages under this

 5   claim, as well as attorney’s fees.
 6
                                        TENTH CLAIM FOR RELIEF
 7
                           FALSE ARREST AND FALSE IMPRISONMENT
 8
                            (AGAINST ALL DEFENDANTS)
 9
            128. PLAINTIFF hereby re-alleges and incorporates by reference paragraphs
10
     1 through 127 of this Complaint with the same force and effect as if fully set forth
11

12   herein.
13
            129. Defendants while acting within the course and scope of their duties for
14

15
     the CITY OF ONTARIO, intentionally deprived PLAINTIFF of his freedom of

16   movement by use of force, threats of force, menace, fraud, deceit, and unreasonable
17
     duress. Defendants detained PLAINTIFF without reasonable suspicion and arrested
18

19
     him without probable cause. The scope and manner of their detention of PLAINTIFF

20   was also unreasonable.
21
            130. Defendants detained PLAINTIFF for an appreciable amount of time,
22

23   including demanding he pull over, unleashing their unit dog, as well as tasing, pepper

24   spraying, and excessively beating PLAINTIFF, making PLAINTIFF feel he was not
25
     free to leave.
26

27



                                                          28
     ____________________________________________________________________________________________________________
                                           COMPLAINT FOR DAMAGES
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 1          131. The conduct of Defendants was a substantial factor in causing the harm
 2
     to PLAINTIFF.
 3

 4
            132. Defendant CITY OF ONTARIO is vicariously liable for the wrongful

 5   acts of Defendants pursuant to section 815.2(a) of the California Government Code,
 6
     which provides a a public entity is liable for the injuries caused by its employees
 7

 8
     within the scope of employment if the employee’s act would subject him or her to

 9   liability.
10
            133. Defendant DOES are vicariously liable under California law and the
11

12   doctrine of resondeat superior.

13          134. The conduct of Defendants was malicious, wanton, oppressive, and
14
     accomplished with a conscious disregard for the rights of PLAINTIFF, entitling
15

16   PLAINTIFF to an award of exemplary and punitive damages.

17          135. As a result of their misconduct, Defendants are liable for PLAINTIFF’S
18
     injuries, either because they were integral participants in the wrongful detention and
19

20   arrest, or because they failed to intervene and prevent these violations.

21          136. PLAINTIFF brings this claim individually and seeks damages including
22
     for the nature and extent of injuries and loss of enjoyment of life under this claim
23

24                                        DAMAGES
25          137. As a direct and proximate result of the defendants’ acts and/or omissions
26   alleged herein, PLAINTIFF suffered:
27



                                                          29
     ____________________________________________________________________________________________________________
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 1               a. Claims include future medical.
 2               b. Punitive damage against all individuals allowed as by law.
 3               c. Mental anguish and suffering associated with this excessive force used on
 4          Richard DONASTORG.
 5               d. Claims for violation of Civil Rights of Richard DONASTORG.
 6               e. All related claims for the events of May 8, 2016 believed to be in excess
 7          of one hundred thousand dollars ($100,000.00).
 8
                                                    PRAYER
 9
            WHEREFORE, PLAINTIFF prays judgment against Defendants and each of
10
     them, as follows:
11
            AS TO EACH CAUSE OF ACTION AS APPLICABLE
12          1.           For General damages according to proof;
13          2.           For Special damages according to proof;
14          3.            For Punitive damages as provided by law, in an amount to provide
15               against each individual Defendant;
16          4.            For attorney’s fees;
17          5.            For Costs of suit;
18          6.         For such other and further relief as the Court may deem proper.
19

20   Dated: May 7, 2018
21

22                                                                         By:___ ___/s/_____________
23                                                                                    Sharon Brunner, Esq
24                                                                               Attorney for PLAINTIFF
25   Dated: May 7, 2018
26

27



                                                          30
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 1
                                                                           By:___ ___/s/_____________
 2
                                                                                         James Terrell, Esq
 3                                                                               Attorney for PLAINTIFF
 4

 5                           JURY TRIAL DEMANDED
             PLAINTIFF demands a jury trial.
 6

 7   Dated: May 7, 2018
 8                                                                         By: _____ /s/_______
 9                                                                               Sharon J Brunner, Esq
                                                                              Attorney for PLAINTIFF
10
     Dated: May 7, 2018
11
                                                                           By: _____ /s/_______
12                                                                                  James Terrell, Esq
13                                                                            Attorney for PLAINTIFF

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     ____________________________________________________________________________________________________________
                                           COMPLAINT FOR DAMAGES
